    Case: 4:18-cv-01132-JAR Doc. #: 25 Filed: 07/27/18 Page: 1 of 2 PageID #: 1197
 


                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


    HH ST. LOUIS RAILWAY LP,                    )
    MISSOURI DEVELOPMENT FINANCE                )
    BOARD, and RAILWAY EXCHANGE                 )
    OWNER, LLC,                                 )
                                                )
            Plaintiffs,                         )
                                                )
    v.                                          ) Case No. 4:18-cv-01132-JAR
                                                )
    AFFILIATED FM INSURANCE                     ) JURY TRIAL DEMANDED
    COMPANY,                                    )
                                                )
            Defendant.                          )
                                                )




                  AFFILIATED FM INSURANCE COMPANY’S
            CROSS MOTION FOR PARTIAL SUMMARY JUDGMENT
______________________________________________________________________________


         Pursuant to Federal Rule of Civil Procedure 56, Defendant Affiliated FM Insurance

Company (“AFM”) hereby moves for partial summary judgment and requests that the

Court grant summary adjudication as follows:

         1.       The AFM policy’s Valuation provision is enforceable and does not conflict

with Missouri Revised Statute section 379.150;

         2.       The AFM Policy’s Valuation provision permits AFM to deduct the value of

the land from the selling price of real property; and

         3.       The selling price of the Railway Exchange Building was $9 million.




3851966.1
    Case: 4:18-cv-01132-JAR Doc. #: 25 Filed: 07/27/18 Page: 2 of 2 PageID #: 1198
 


    There no genuine issue of material fact with respect to these issues, and AFM is entitled

to judgment as a matter of law.

          WHEREFORE, Defendant AFM respectfully requests that this Court grant partial

summary judgment in its favor on these issues and for such further relief the Court deems

appropriate.

    Dated: July 27, 2018                      Respectfully submitted,

                                              TUCKER ELLIS LLP

                                              By: /s/ Sandra J. Wunderlich
                                                   Sandra J. Wunderlich, #39019MO
                                                  100 South 4th Street, Suite 600
                                                  St. Louis, MO 63102
                                                  Telephone: (314) 256-2550
                                                  Facsimile: (314) 256-2549
                                                  sandra.wunderlich@tuckerellis.com

                                              Attorneys for Defendant Affiliated FM
                                              Insurance Company




                                 CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on this 27th day of July, 2018 a true and
correct copy of the foregoing instrument was electronically filed with the Clerk of Court
and served to all counsel of record via the Court’s CM/ECF System.

                                                /s/ Sandra J. Wunderlich
                                                Attorney for Defendant
                                                Affiliated FM Insurance Company




                                               2 
3851966.1
